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 1                                                                    The Honorable Richard A. Jones
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 7                              UNITED STATES DISTRICT COURT FOR THE
                                  WESTERN DISTRICT OF WASHINGTON
 8
                                            AT SEATTLE
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10
      UNITED STATES OF AMERICA,                                  NO. CR17-003-RAJ
11
                                 Plaintiff,
12
                                                                 DISCOVERY PROTECTIVE ORDER
13
                           v.
14
      LUIS VENANCIO CUETO-RUIZ AND
15    LEONARDO MATEO CUETO-RUIZ,
16
                                Defendants.
17
18           This matter, having come to the Court’s attention on the Stipulation for Entry of a
19 Discovery Protective Order submitted by the United States of America and Defendants
20 LUIS VENANCIO CUETO-RUIZ and LEONARDO MATEO CUETO-RUIZ, and the
21 Court, having considered the motion, and being fully advised in this matter, hereby enters
22 the following PROTECTIVE ORDER:
23           1.       Protected Material
24           The following documents and materials are deemed Protected Material. The
25 United States will make available copies of the Protected Materials, including those filed
26 under seal, to defense counsel to comply with the government’s discovery obligations.
27 Possession of copies of the Protected Materials is limited to the attorneys of record, and
28
     DISCOVERY PROTECTIVE ORDER                                                      UNITED STATES ATTORNEY
                                                                                    700 STEWART STREET, SUITE 5220
     United States v. Cueto-Ruiz, et al., CR17-003 RAJ - 1                            SEATTLE, WASHINGTON 98101
                                                                                            (206) 553-7970
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 1 investigators, paralegals, law clerks, experts, and assistants for the attorneys of record
 2 (hereinafter collectively referred to as members of the defense team). This category of
 3 Protected Materials will be marked and labeled as “Protected Material”:
 4                    a.       Grand Jury transcripts and exhibits.
 5                    b.       Audio/video recordings of witnesses and defendants.
 6                    c.       Witness and defendant statements, including but not limited to
 7 reports of law enforcement officers memorializing witness statements.
 8                    d.       The personal information related to victim/witnesses, and any
 9 statements and documents containing personal information about or related to any
10 victims and witnesses.
11           As used in this Order, the term “personal information” refers to each victim and
12 witness’s full name, date of birth, Social Security number (or other identification
13 information), driver’s license number, address, telephone number, location of residence
14 or employment, school records, juvenile criminal records, and other confidential
15 information.
16           2.       Scope of Review of Protected Material
17           The attorneys of record and members of the defense teams may display and review
18 the Protected Material with their respective Defendant. The attorneys of record and
19 members of the defense teams agree that providing copies of the Protected Material to the
20 Defendants and other persons is prohibited and they will not duplicate or provide copies
21 of Protected Material to the Defendants and other persons. The only exception to this
22 prohibition is that the attorneys of record and members of the defense teams may provide
23 electronic copies of Protected Material to the Federal Detention Center at SeaTac,
24 Washington, for use in a controlled environment by their respective Defendant, who is
25 currently in custody at the FDC.
26           The United States Attorney’s Office for the Western District of Washington is
27 similarly allowed to display and review the Protected Material to lay witnesses, but is
28
     DISCOVERY PROTECTIVE ORDER                                                    UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     United States v. Cueto-Ruiz, et al., CR17-003 RAJ - 2                          SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
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 1 otherwise prohibited from providing copies of the Protected Material to lay witnesses, i.e.
 2 non-law enforcement witnesses.
 3           3.       Consent to Terms of Protective Order
 4           Members of the defense team shall provide written consent and acknowledgement
 5 that they will each be bound by the terms and conditions of this Protective Order. The
 6 written consent need not be disclosed or produced to the United States unless requested
 7 by the Assistant United States Attorney and ordered by the Court.
 8           4.       Parties’ Reciprocal Discovery Obligations
 9           Nothing in this order should be construed as imposing any discovery obligations
10 on the government or the defendant that are different from those imposed by case law and
11 Rule 16 of the Federal Rules of Criminal Procedure, and the Local Criminal Rules.
12           5.       Filing of Protected Material
13           Any Protected Material that is filed with the Court in connection with pre-trial
14 motions, trial, sentencing, or other matter before this Court, shall be filed under seal and
15 shall remain sealed until otherwise ordered by this Court. This does not entitle either
16 party to seal their filings as a matter of course. The parties are required to comply in all
17 respects to the relevant local and federal rules of criminal procedure pertaining to the
18 sealing of court documents.
19           6.       Nontermination
20           The provisions of this Order shall not terminate at the conclusion of this
21 prosecution.
22           7.       Violation of Protective Order
23           Any violation of any term or condition of this Order by the Defendants, their
24 attorney(s) of record, any member of the defense team, or any attorney for the
25 United States Attorney’s Office for the Western District of Washington, may be held in
26 contempt of court, and/or may be subject to monetary or other sanctions as deemed
27 appropriate by this Court.
28
     DISCOVERY PROTECTIVE ORDER                                                    UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     United States v. Cueto-Ruiz, et al., CR17-003 RAJ - 3                          SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
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 1           If any Defendant violates any term or condition of this Order, the United States
 2 reserves its right to seek a sentencing enhancement for obstruction of justice, or to file
 3 any criminal charges relating to the Defendant’s violation.
 4           DATED this 17th day of January, 2017.
 5
 6                                                           A
 7                                                           The Honorable Richard A. Jones
                                                             United States District Judge
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     Presented by:
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13
     /s/ Joseph Silvio
14
     JOSEPH SILVIO
15
16 /s/ Sara Brin
   SARA BRIN
17
18
   /s/ Christopher Carney
19 CHRISTOPHER CARNEY
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     DISCOVERY PROTECTIVE ORDER                                                    UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     United States v. Cueto-Ruiz, et al., CR17-003 RAJ - 4                          SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
